     Case 3:20-cv-01453-JLS-WVG Document 21 Filed 05/25/21 PageID.209 Page 1 of 2



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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    ALBERTO LOPEZ,                                   Case No.: 20-CV-1453-JLS-WVG
12                                    Plaintiff,
                                                       ORDER DENYING JOINT MOTION
13    v.                                               FOR ENTRY OF STIPULATED
                                                       PROTECTIVE ORDER
14    SMITHS DETECTION, INC., et al.,
15                                 Defendants.
16
17         On May 24, 2021, the Parties filed a Joint Motion for Entry of Stipulated Protective
18   Order and lodged a proposed order accordingly. (Doc. No. 20.) Having reviewed and
19   considered the entirety of the Parties’ submission, the Court DENIES the Parties’ Joint
20   Motion without prejudice. Glaringly, the Parties have again failed to comply with this
21   Court’s Civil Chambers Rules. Civil Chambers Rule V: Stipulated Protective Order
22   Provisions for Filing Documents under Seal makes clear the parties must incorporate
23   specific language in their joint motion for protective order and accompanying proposed
24   order. No such language was included in the Parties’ Joint Motion here. For this reason,
25   the Court DENIES the Joint Motion.
26         Counsel’s persistent neglect of this Court’s Civil Chambers Rules and failure to
27   follow through with the Court’s repeated verbal and written orders regarding compliance
28   are nothing new. On at least three prior occasions, the Court has admonished counsel for

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     Case 3:20-cv-01453-JLS-WVG Document 21 Filed 05/25/21 PageID.210 Page 2 of 2



 1   both parties for their non-compliance and emphasized they must fully review and adhere
 2   to all applicable rules throughout the course of this litigation. Each time, the Court spared
 3   counsel of sanctions in believing counsel’s representations that they would do better. They
 4   have not. The Court’s patience is razor thin and further non-compliance will not be
 5   tolerated. If there is any future violation of this Court’s Civil Chambers Rules, this
 6   District’s Civil Local Rules, or the Federal Rules of Civil Procedure, counsel shall expect
 7   to be met with sanctions consistent with Local Civil Rule 83.1 and the Court’s inherent
 8   power to impose a finding of contempt and/or monetary sanctions. No other warnings shall
 9   be given.
10         IT IS SO ORDERED.
11   Dated: May 25, 2021
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